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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

HISPANIC FEDERATION, et al.,
              Plaintiﬀs,
v.
                                               Case No. 4:23-cv-218-AW-MAF
CORD BYRD, etc., et al.,
              Defendants.


           PLAINTIFFS’ MOTION TO CONSOLIDATE ACTION

      Pursuant to Federal Rule of Civil Procedure 42, Plaintiﬀs move to consolidate

this action with No. 4:23-cv-215-MW-MAF, the ﬁrst-ﬁled of two recently-ﬁled

cases that are closely related to this case. Plaintiﬀs’ counsel conferred with counsel

for the Defendants. Re Attorney General does not object to this Motion. Re

Secretary of State opposes the Motion.

      For the reasons set forth in the following Memorandum, consolidation with

4:23-cv-215-MW-MAF is very much in the interest of judicial economy and will

preserve the precious resources of the parties as well. Plaintiﬀs respectfully request

the Court consolidate this action with No. 4:23-cv-215-MW-MAF.

                                MEMORANDUM

      On May 24, 2023, one day prior to the ﬁling of this action, a separate action

entitled Florida State Conference of Branches and Youth Units of the NAACP, et al.
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v. Byrd, et al., No. 4:23-cv-215-MW-MAF, was ﬁled in this District. Later that

afternoon, another action, entitled League of Women Voters of Florida, Inc., et al. v.

Moody, et al., No. 4:23-cv-216-RH-MAF, was ﬁled in this District. On May 26, the

judge presiding over League of Women Voters ordered that case reassigned to the

judge presiding over the NAACP matter. No. 4:23-cv-216-RH-MAF, ECF No. 8.

      At the time of ﬁling, Plaintiﬀs designated this case as related to the NAACP

and League of Women Voters cases (ECF No. 2) and ﬁled a notice pursuant to Local

Rule 5.6 indicating this case involves issues of fact and law in common with the

NAACP and League of Women Voters cases (ECF No. 4).

      Re instant case and the two previously ﬁled pending cases in this district

overlap in signiﬁcant part in that:

          • All three suits name Secretary of State Byrd and Attorney General

              Moody as Defendants;

          • All three suits challenge the constitutionality of provisions of Florida’s

              newly enacted election law, Senate Bill 7050;

          • All three suits speciﬁcally challenge the newly enacted Fla. Stat.

              § 97.0575(1)(f), which requires each third-party voter registration

              organization operating in Florida to provide an aﬃrmation to the State

              that each person collecting or handling voter registration applications

              is a U.S. citizen;


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          • All three suits challenge this provision as an infringement of Plaintiﬀs’

              rights under the First and Fourteenth Amendments.

      Under Federal Rule of Civil Procedure 42(a), a district court may consolidate

multiple actions involving “common question[s] of law or fact.” Courts have broad

discretion to determine whether and to what extent consolidation is appropriate. See

Eghnayem v. Boston Sci. Corp., 873 F.3d 1304, 1313 (11th Cir. 2017). In exercising

discretion, the district court “must determine ‘[w]hether the specific risks of

prejudice and possible confusion [are] overborne by the risk of inconsistent

adjudications of common factual and legal issues, the burden on parties, witnesses

and available judicial resources posed by multiple lawsuits, the length of time

required to conclude multiple suits as against a single one, and the relative expense

to all concerned of the single-trial, multiple-trial alternatives.’” Allstate Ins. Co. v.

Vizcay, 826 F.3d 1326, 1333 (11th Cir. 2016) (quoting Hendrix v. Raybestos-

Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985)).

      In the Eleventh Circuit, district courts are “urged to make good use of Rule

42(a) in order to expedite the trial and eliminate unnecessary repetition and

confusion.” Id. at 1314. And when multiple substantially similar cases are filed

within the same division, this court has a “long-standing policy of consolidating all

such cases before the judge handling the first-filed one.” Florida v. Jackson, No.

3:10-cv-503-RV-MD, 2011 WL 679556, at *1 (N.D. Fla. Feb. 15, 2011).


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      In the interest of eﬃciency, Plaintiﬀs respectfully request that this Court

consolidate this matter with No. 4:23-cv-215-MW-MAF, the ﬁrst-ﬁled case.

Allowing the three cases to proceed in a consolidated manner would be in the

interests of judicial economy. Each of the three cases is currently in the same stage

of the litigation—only the complaints have been ﬁled—and the factual and legal

issues asserted are substantially overlapping, which diminishes any material risk of

prejudice, confusion, or burden to the parties that consolidation might impose.

Litigating these cases separately, in contrast, would require “wasteful litigation and

duplication of judicial eﬀorts.” Vizcay, 826 F.3d at 1333–34. Re length of time to

conclude three separate suits on these overlapping issues, and the best use of judicial

resources and the resources of all parties and witnesses involved, all further counsel

in favor of consolidating this case with the ﬁrst-ﬁled matter.

           LOCAL RULE 7.1(C) CERTIFICATE OF CONFERRAL

      On May 30, 2023, counsel conferred with counsel for both Defendants. Re

Attorney General does not object to this Motion. Re Secretary of State opposes the

Motion.

                     LOCAL RULE 7.1(F) CERTIFICATE

      Ris Memorandum contains 626 words.




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Respectfully submitted this 30th day of May, 2023,

                                         /s/ Nicholas L.V. Warren

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                        CERTIFICATE OF SERVICE

      The foregoing motion for consolidation and supporting memorandum have

been served on Counsel for Defendants via the following email addresses:

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Dated: May 30, 2023                   Respectfully submitted,

                                      /s/ Nicholas L.V. Warren
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